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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO
BANKRUPTCY JUDGE MICHAEL E. ROMERO

 

 

 

In re:
HIGH COUNTRY CLUB, Bankruptcy Case No. 09-11070-MER
Debtor. Chapter 7

ORDER FOR PAYMENT OF UNCLAIMED FUNDS

 

It appearing to the court that the original dividend check issued in the above mentioned
case to Daniel Eagle in the amount of $414.86, was not cashed or was returned as undeliverable

Upon the request for release of unclaimed funds filed by Dilks & Knopik, LLC, on behalf
of Daniel W. Engle, the court has determined that sufficient evidence has been presented and
therefore, it is ,

ORDERED that, pursuant to 28 USC § 2042, the $414.86 heretofore placed in the
Unclaimed/Undistributed Funds account of the US Treasury, be disbursed to Daniel W. Engle, c/o
Dilks & Knopik, LLC.

Dated:

Aeryot 11,1017 BY THE COURT:

BANKRUPTCY JUDGE

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